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FOR THE MIDDLE DISTRICT OF NORTH CAROL] au ™

 
   

SYNGENTA CROP PROTECTION, / .

a (4 SEP
: 13 2097
IN THIS OFFICE
‘ Clerk U8. District Court

Plaintiff,

Gresrisborg, Ni
penshorg, N.C,

 
 
 

1:15-CV-274
VERDICT SHEET

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:
WILLOWOOD LLC, et al.,, )
)
)

Defendants.
The Compound Patents
1. Did Syngenta prove that Willowood Limited imported azoxystrobin technical into
the United States or otherwise sold or offered for sale azoxystrobin technical in the
United States?
Yes (for Syngenta) No. (for Willowood Limited)

2. What damages has Syngenta proven it is entitled to recover for infringement of the
Compound Patents by the Defendants?

Amount $ 19, @ 00. 08

3. Has Syngenta proven that the infringement of the Compound Patents by the
Defendants was willful?

 

Yes as to Willowood USA & Willowood LLC (for Syngenta) No TA (for Willowood)
Yes as to Willowood Limited _s (for Syngenta) No KC (for Willowood)

The °138 Process Patent
4. Did Syngenta prove that the same entity carried out both the etherification and
condensation reactions used to manufacture the Defendants’ azoxystrobin technical,
or, ifnot, that the Defendants directed or controlled the entities that carried out the
etherification and condensation reactions used to manufacture the Defendants’
azoxystrobin technical?

Yes__ (for Syngenta) No (for Willowood)

If you answered “No,” do not answer Questions 3 and 6 and skip to Question 7.
Ifyou answered “Yes,” answer Questions 5 and 6.

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. What amount of additional damages, if any, has Syngenta proven it is entitled to
recover for any infringement of the ‘138 Process Patent by the Defendants?

Amount $

 

For Question 5, do not include here any damages you awarded in response to
Question 2; this question is asking for the amount of additional damages
Syngenta suffered as a result of the infringement of the process patent, if any.

. Has Syngenta proven that any infringement of the ‘138 Process Patent by the
Defendants was willful?
Yes (for Syngenta) No (for Willowood)

The ’761 DABCO Patent ,
. Did the Defendants prove that the condensation reaction used to manufacture its
azoxystrobin technical is not performed in the presence of between 0.1 and 2.0 mol
% DABCO?

Yes____ (for Willowood) Nov (for Syngenta)

Ifyou answered “Yes,” do not answer Question 8; skip to Question 9.
If you answered “No,” answer Questions 8 and 9,

. What amount of additional damages, if any, has Syngenta proven it is entitled to
recover for any infringement of the ‘761 DABCO Patent by the Defendants?

Amount $ Guo, YW. a
For Question 8, do not include here any damages you awarded in response to
Questions 2 and 5; this question is asking for the amount of additional damages
Syngenta suffered as a result of the infringement of the DABCO patent, if any.
. Did the Defendants prove that the °761 DABCO Patent is invalid?
Yes___ (for Willowood) No”/_ (for Syngenta)
This atin day of September, 2017.
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